Case 1:18-cv-00427-JJM-LDA Document 41-4 Filed 07/15/19 Page 1 of 5 PagelD #: 852

EXHIBIT L
Case 1:18-cv-00427-JJM-LDA Document 41-4 Filed 07/15/19 Page 2 of 5 PagelD #: 853

RISOS Filing Number: 201294781790 Date: 07/23/2012 12:07 PM

Filing and License Fee; $310.00 minimum iD Number:

STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS
Office of the Secretary of State
Corporations Division
148 W. River Street
Providence, Rhode Island 02904-2615

BUSINESS CORPORATION

 

 

APPLICATION FOR CERTIFICATE OF AUTHORITY
Laws of Rhode Island, 1958, as amended, the undersigned foreign

Pursuant to the provisions of Section 7-1.2-1405 of the General
corporation hereby applies for a Certificate of Authority to transact business in the State of Rhode Island, and for that purpose suomits

the folowing statement
1. The name of the comorationis Korde & Associates, P.C.

2. Itis incorporated under the laws of Massachusetts

3. The name, Hf different, which it elects to use in Rhode Island is:

(a) ff the name of the corporation in its jurisdiction of incorporation does not contain the word “corporation,” “company,”
" or “Timited,” or an abbreviation thereof, then list the name of the corporation with the addition of one of ite

above corporste endings for use in Rhode island:

(b} if the corporate name is not available in Rhode isiend, then set forth below the fictilious name under which the corporation will
quetily and transact business in Rhode island as stated in the ‘Fictitious Business Name Statement" to be fied with this

 

4, The date of its incorporation ig February 4, 2003 and the petiod of its duration Ip Perpetual

§. The address of its principal office in the state or country under the laws of which it Is incorporated Is eee

321 Billerica Rd. Ste. 210, Chelmsford, MA 01824
8. The address of its proposed registered office in Rhode Island is 222 Jefferson Bivd., Suite 200
(Street Address, not P.O. Box}
Warwick Ri 02688 and the name of its proposed registered agent In Risele Islaneat
(CiiyiTown Zip Code) ms of
that address is National Registered Agente, Inc.
(Narra of Agent)
7. The purpose or purposes which Proposes to pursue in the transaction of business in Rhode island are:

To carry on the practice of law and any business or other lawful activity,

 

Ld:Z td €2 For z

 

&. (a) The names and respective addresses of its directors (optional unless directors are required under the laws of the state or couritry
Of which it is incorporated).

 

 

 

 

Name Adaress
Director Sanjit §. Korde 321 Billerica Rd. Sts. 210, Cholmaford, MA 01824
Director Gerald Shaprio 2424 N, Federal Hwy, #260, Boce Raton; FL 343 ————
Director David Kreisman Fy | pac N- Federal Hwy, #360, Boca Raton, FL 33431
Director FILED
You |
JUL 2 3 9912

Form No, 180
Revised: 12/06
a
py OL. 8339
Case 1:18-cv-00427-JJM-LDA Document 41-4 Filed 07/15/19 Page 3 of 5 PagelD #: 854

 

 

 

 

 

 

 

 

 

 
Case 1:18-cv-00427-JJM-LDA Document 41-4 Filed 07/15/19 Page 4 of 5 PagelD #: 855

State House, boston, Massachusetts 02783

 

William Francis Galvin
Secretary of the -
Commonwealth

July 18, 2012
TO WHOM IT MAY CONCERN:

Thereby certify that according to the records of this office,
KORDE & ASSOCIATES, P.C.

is a domestic corporation organized on February 4, 2003, under the General Laws of the
Commonwealth of Massachusetts,

I further certify that there are no proceedings presently pending under the Massachusetts
General Laws Chapter 156D section 14.21 for said corporation’s dissolution; that articles of
dissolution have not been filed by said corporation; that, said corporation has filed all annual
reports, and paid all fees with respect to such reports, and so far as appears of record said
corporation has legal existence and is in good standing with this office.

In testimony of which,
] have hereunto affixed the .
’ Great Seal of che Commonwealth

on the date first above written,

Weber Fpane fe tlovi

Secretary of the Commonwealth

   

Processed By: sam
Casi: 8QS co Filing Wumbernc20h294784 790d Datei 97/28/20 b251R2O7 P1856

SHORE,
State of Rhode Island and Providence Plantations
A. Ralph Mollis

Secretary of State
SA A

STATE OF RHODE ISLAND AND PROVIDENCE PLANTATIONS

1, A. RALPH MOLLIS, Secretary of State of the State of Rhode Island
and Providence Plantations, hereby certify that this document, duly
executed in accordance with the provisions of Title 7 of the General Laws

of Rhode Island, as amended, has been filed in this office on this day:
July 23, 2012 12:07 PM

A be hee

A. RALPH MOLLIS

Secretary of State

 

78689-1-737696
